Case 9:21-cv-80779-AMC Document 31 Entered on FLSD Docket 11/05/2021 Page 1 of 1


                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                  CASE NO. 21-80779-CIV-CANNON

  UNITED STATES OF AMERICA,

           Plaintiff,
  v.

  104 ANDOVER COURT LLC, et al.,

        Defendants.
  _______________________________________________/

                         ORDER ADMINISTRATIVELY CLOSING CASE

           THIS CAUSE is before the Court upon the parties’ Notice of Settlement and Joint Request

  for Stay [ECF No. 30], filed on November 4, 2021, in which the parties advise that they have

  reached a settlement agreement. The Court has carefully reviewed the file and is fully advised.

  Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

        1. The above-styled action is administratively CLOSED without prejudice to the parties to

           file a Stipulation for Dismissal within thirty (30) days of the date of this Order.

        2. If the parties fail to complete the expected settlement, either party may request the Court

           to reopen the case.

        3. The Clerk shall CLOSE this case for administrative purposes only. Any scheduled

           hearings are CANCELED, any pending motions are DENIED AS MOOT, and all

           deadlines are TERMINATED.

           DONE AND ORDERED in Chambers at Fort Pierce, Florida this 5th day of November

  2021.

                                                             _________________________________
                                                             AILEEN M. CANNON
                                                             UNITED STATES DISTRICT JUDGE
  cc:      counsel of record
